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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


THOMAS JAMES MOORE,

                    Petitioner,

v.                                                  Case No.: 3:06-cv-127-MMH

SECRETARY, FLORIDA DEPARTMENT
OF CORRECTIONS, et al.,

                 Respondents.
______________________________________

                                     ORDER

        Marie F. Donnelly of the Office of the Capital Habeas Unit for the Middle

District of Florida (CHU) moves to substitute counsel for Petitioner as his sole

counsel, Martin McClain, has died (Doc. 53). There is no opposition to the

Motion. Because Petitioner will be represented by counsel and counsel’s

substitution will have no effect on case management, the Court grants the

Motion (Doc. 53); appoints the CHU to represent Petitioner; and directs the

Clerk to amend the docket accordingly.

        DONE AND ORDERED at Jacksonville, Florida, this 13th day of April,

2022.
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c:   Counsel of Record




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